                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

                            MINUTES OF PROCEEDINGS--CIVIL

                                                      DATE: February 15, 2024
Donald Margolis,
                                                      CASE NO. 1:23cv1648
                       Plaintiff,
                                                      JUDGE CHARLES ESQUE FLEMING
       vs.
                                                      MAGISTRATE JUDGE JONATHAN D.
City of Amherst, Ohio, et. al.,                       GREENBERG

                       Defendants.                    ECRO: A. Faluski

Plaintiff/Representative                              Plaintiff’s Counsel:
Donald Margolis                                       Subodh Chandra
                                                      Emily Bohatch (intern)

Defendants’ Representatives                           Defendants’ Counsel:
Chief Mark Cawthron                                   Gregory A. Beck
Brian Griffin
Mark Bassily (adjuster)


PROCEEDINGS: An in-person Mediation Conference was conducted on February 15, 2024,
with the above participants. The parties were able to reach an agreement. The parties shall file a
notice of dismissal with prejudice by close of business (5:00 p.m.) on April 26, 2024. The Court
will retain jurisdiction to enforce the terms of the settlement agreement.

  4 hours
Total Time                                            s/ Jonathan D. Greenberg
                                                      Jonathan D. Greenberg
                                                      United States Magistrate Judge
